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                               UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10    JOSE ESTRADA,                                     Case: 2:21-cv-01207-JAK-AGR
  11             Plaintiff,
  12      v.                                              Plaintiff’s Notice of Voluntary
                                                          Dismissal With Prejudice
  13    FAMILY DOLLAR, INC., a North
        Carolina Corporation,
  14
                 Defendants.                              Fed. R. Civ. P. 41(a)(1)(A)(i)
  15
  16
  17           PLEASE TAKE NOTICE that Plaintiff Jose Estrada, hereby
  18   voluntarily dismisses the above captioned action with prejudice pursuant to
  19   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
  20           Defendant Family Dollar, Inc. has neither answered Plaintiff’s
  21   Complaint, nor filed a motion for summary judgment. Accordingly, this
  22   matter may be dismissed without an Order of the Court.
  23   Dated: May12,2021                      CENTER FOR DISABILITY ACCESS
  24
  25                                          By:     /s/Amanda Seabock
  26                                                  Amanda Seabock
                                                      Attorneys for Plaintiff
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                     Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                  Federal Rule of Civil Procedure 41(a)(1)(A)(i)
